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                             UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


ROBERT F. KENNEDY HUMAN
RIGHTS; SOUTHERN BORDER
COMMUNITIES COALITION; URBAN
JUSTICE CENTER,

           Plaintiffs,                        Civil Action No. 25-1270-ACR

             v.

U.S. DEPARTMENT OF HOMELAND
SECURITY; KRISTI NOEM, in her official
capacity as Secretary of Homeland Security,

           Defendants.



                     INDEX OF EXHIBITS IN SUPPORT OF
            PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


  Decl.                            Name                                 Bates Numbers
   1          Declaration of Anthony Enriquez                        PLFS-0001 to PLFS-0008
   2          Declaration of Joy Ziegeweid                           PLFS-0009 to PLFS-0014
              Declaration of Lilian Serrano                          PLFS-0015 to PLFS-0021
              Exhibit A – SBCC’s CRCL Complaint
                                                                     PLFS-0022 to PLFS-0042
                (May 13, 2023)
     3        Exhibit B – SBCC’s Updated CRCL Complaint
                                                                     PLFS-0043 to PLFS-0131
                (Dec. 11, 2023)
              Exhibit C – CRCL Response Letter
                                                                     PLFS-0132 to PLFS-0135
                (Feb. 2, 2024)
     4        Declaration of Pedro Rios                             PLFS-0136 to PLFS-0138
     5        Declaration of Margaret Cargioli                      PLFS-0139 to PLFS-0142
     6        Declaration of Deborah Fleischaker                    PLFS-0143 to PLFS-0150
              Declaration of Alex Doe                               PLFS-0151 to PLFS-0161
     7
              Exhibit D – RIF Notice (Mar. 21, 2025)                PLFS-0162 to PLFS-0167
     8        Declaration of Debra Rogers                           PLFS-0168 to PLFS-0173
              Declaration of Kelsey Vitullo                         PLFS-0174 to PLFS-0179
              Exhibit E – RIF Notice (Mar. 21, 2025)               PLFS-0179a to PLFS-0179e
     9
              Exhibit F – Records Retention Notice
                                                                   PLFS-0179f to PLFS-0179g
                 (May 2, 2025)
              Declaration of Sister Tracey Horan                     PLFS-0180 to PLFS-0185
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              Exhibit G – Autoreply E-Mail (Apr. 24, 2025)           PLFS-0185 to PLFS-0187
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11    Declaration of Laura St. John                 PLFS-0188 to PLFS-0193
12    Declaration of Mayra Jones                    PLFS-0194 to PLFS-0197
13    Declaration of Alicia de la O                 PLFS-0198 to PLFS-0199
14    Declaration of Christine Brito                PLFS-0200 to PLFS-0202
15    Declaration of Zain Lakhani                   PLFS-0203 to PLFS-0210
16    Declaration of Susu D’Andrea                  PLFS-0211 to PLFS-0213
17    Declaration of Timothy Fallon                 PLFS-0214 to PLFS-0219
18    Declaration of Jodi Ziesemer                  PLFS-0220 to PLFS-0223
